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                                                                          5                              IN THE UNITED STATES DISTRICT COURT
                                                                          6                           FOR THE NORTHERN DISTRICT OF CALIFORNIA
                                                                          7
                                                                              IN RE: CATHODE RAY TUBE (CRT)                           )   MDL No. 1917
                                                                          8   ANTITRUST LITIGATION                                    )
                                                                                                                                      )   Case No. 07-cv-5944 JST
                                                                          9                                                           )
                                                                                                                                      )   ORDER DISMISSING CERTAIN
                                                                         10   This Order Relates To:                                  )   CLAIMS AGAINST IRICO
                               For the Northern District of California
United States District Court




                                                                                                                                      )   ENTITIES WITHOUT PREJUDICE
                                                                         11   All Direct Action Plaintiffs                            )
                                                                                                                                      )
                                                                         12                                                           )
                                                                         13
                                                                         14          Pursuant to the Court’s June 28, 2016 order regarding defendants Irico Display Devices Co.,
                                                                         15   Ltd. and Irico Group Corporation (the “Irico Entities”), ECF No. 4694, and Direct Action Plaintiffs’
                                                                         16   response to that order, ECF No. 4702, the claims against the Irico Entities contained in the following
                                                                         17   complaints are now dismissed without prejudice pursuant to Rule 4(m) of the Federal Rules of Civil
                                                                         18   Procedure:
                                                                         19         The claims of Tech Data Corp. and Tech Data Product Management, Inc. in the First Amended
                                                                         20
                                                                                     Complaint filed on September 9, 2013, ECF No. 1911;
                                                                         21
                                                                                    The claims of Interbond Corporation of America in the First Amended Complaint filed October
                                                                         22
                                                                                     3, 2013, ECF No. 1974;
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                                                                                    The claims of CompuCom Systems, Inc. in the First Amended Complaint filed October 3, 2013,
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                                                                                     ECF No. 1975;
                                                                         25
                                                                                    The claims of Electrograph Systems, Inc. and Electrograph Technologies Corp. in the First
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                                                                                     Amended Complaint filed October 3, 2013, ECF No. 1976;
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                                                                         1          The claims of Office Depot, Inc. in the First Amended Complaint filed October 3, 2013, ECF

                                                                         2           No. 1977;
                                                                         3          The claims of P.C. Richard & Son Long Island Corporation, MARTA Cooperative of America,
                                                                         4           Inc., and ABC Appliance, Inc. in the First Amended Complaint filed October 3, 2013, ECF No.
                                                                         5           1979;
                                                                         6          The claims of Schultze Agency Services, LLC on behalf of Tweeter Opco, LLC and Tweeter
                                                                         7           Newco, LLC in the First Amended Complaint filed October 3, 2013, ECF No. 1980;
                                                                         8          The claims of Costco Wholesale Corp. in the First Amended Complaint filed on October 3,
                                                                         9
                                                                                     2013, ECF No. 1982;
                                                                         10
                                                                                    The claims of Dell Inc. and Dell Products L.P. in the Amended Complaint filed on June 10,
                               For the Northern District of California
United States District Court




                                                                         11
                                                                                     2013, ECF. No. 1726; and
                                                                         12
                                                                                    The claims of Sears, Roebuck and Co., and Kmart Corporation in the Second Amended
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                                                                                     Complaint filed on October 3, 2013, ECF No. 1973.
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                                                                                     Pursuant to the stipulation of plaintiff Target Corporation in Target Corp. v. Chunghwa Picture
                                                                         15
                                                                              Tubes, Ltd., Case Number 11-cv-5514, Target’s claims against the Irico Entities contained in the
                                                                         16
                                                                              complaint in that action, ECF No. 1 on that docket, are dismissed with prejudice. See ECF No. 4703.
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                                                                                     Pursuant to the stipulation of plaintiff ViewSonic Corporation in Target Corp. v. Chunghwa
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                                                                              Picture Tubes, Ltd., Case Number 14-cv-2510, Target’s claims against the Irico Entities contained in the
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                                                                              complaint in that action, ECF No. 1 on that docket, are dismissed with prejudice. See ECF No. 4704.
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                                                                                     IT IS SO ORDERED.
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                                                                              Dated: July 6, 2016
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                                                                                                                               ______________________________________
                                                                         24                                                                   JON S. TIGAR
                                                                                                                                        United States District Judge
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